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                                                             May 19, 2023
VIA ECF FILING
The Honorable Rosemary Gambardella
50 Walnut Street, 3rd Floor
Newark, NJ 07102
Courtroom 3E

          RE:               Randall Jacobs and Jill Jacobs v. Nationstar Mortgage, LLC
                            Adv. Pro. No.: 16-01528-RG

Dear Judge Gambardella:

       As you are aware, our offices represent Randall Jacobs and Jill Jacobs (“Jacobs” or
“Borrowers”) in regard to the above-referenced matter. Please allow this correspondence to serve
as a Status Letter from Debtor’s Counsel in anticipation of the upcoming Oral Argument on
Defendant’s Motion to Dismiss, currently set for next Monday, May 22, 2023 at 11:00 a.m.

       As an initial matter, the Motion to Dismiss and the Motion to Reopen the underlying
Bankruptcy Case under Bankruptcy Docket 10-46222-RG, which is scheduled for June 6, 2023 at
10:00 a.m., should be heard together, because they concern the same subject matter.

         Additionally, we are writing to draw the Court’s attention to various documents that are
part of the Court Record which are pertinent to the adjudication of both matters. These documents
clearly show that the amounts owed to Nationstar at the conclusion of the Chapter 13 Bankruptcy
were severely inflated and that BSI booked the overstated principal balance, which BSI refuses to
correct, due to Nationstar’s various servicing errors, all of which entitle Borrowers to substantial
damages in this Adversary Proceeding. The pertinent documents can be found on the Docket as
follows:

               •     Dckt No.: 33 – June 30, 2011 Trustee’s Report, Showing at Claim #003 that BAC
                     Home Loans Servicing LP (predecessor to Nationstar) was for $27,544.12.
               •     Dckt No.: 48 – Dec 31, 2012 Trustee’s Report Showing additional payments of
                     $10,091.45 to BAC Home Loans Servicing LP (predecessor to Nationstar), which
                     amounts were never applied to or credited to the account with Nationstar. The
                     claims by both parties are for the same loan and same debt.
               •     Dckt No.: 57 – Jan 22, 2016 F.R.B.P. 3002.1(f) Final Cure Payment – wherein
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               Trustee Marie-Ann Greenberg certifies that all amounts due to Nationstar
               Mortgage, LLC under the Chapter 13 Plan “have been paid in full.”
           •   Dckt No.: 58-2 – Mar 16, 2016 Certification by Nationstar Mortgage LLC that the
               account is paid current, including all pre-petition arrears of $27,544.12 being
               paid-in-full together with all post-petition payments due between July of 2011 and
               June of 2012 being paid-in-full, during the entire period Nationstar Mortgage LLC
               owned the subject loan.
           •   Dckt No.: 59 – Chapter 13 Standing Trustee’s Final Report and Account showing
               Claim #003 for $27,544.12 by Nationstar Mortgage LLC was paid-in-full.
           •   Dckt No.: 77 – [to the Bankruptcy Case 10-46222-RG] – Notice of Transfer of
               Claim as of 11/1/18 wherein Shellpoint Mortgage Servicing/BSI Financial Services
               took over the subject loan with a claimed balance of $731,781.79 due and owing, a
               sum that does not include a credit for the $27,544.13 paid and confirmed by Dckt
               No.: 59 and which otherwise overstates or inflates the unpaid principal balance
               owed for a number of additional reasons.
                   o Please Note: The $37,635.57 of principal added by BSI Financial Services
                       is the same $37,635.57 comprised of the $27,544.13 previously paid to
                       Nationstar Mortgage LLC together with the $10,091.45 previously paid to
                       BAC Home Loans Servicing LP. Nationstar made a severe servicing error
                       and failed to credit these payments to the account and then ran interest at
                       6.75% on these sums for several years, generating $18,592.28 of additional
                       interest, added to principal.
                   o While all payments have been made monthly as required since the Chapter
                       13 Plan, resulting in Discharge, the amount BSI claims to be due now has
                       grown by over an additional $300,000 to over $1,000,000 during the
                       pendency of these proceedings, when on information and belief, the
                       principal has been paid down over the last 4-5 years by approximately the
                       same amount, leaving only between $400,000 and $500,000 actually due
                       and owing. The delta in the amounts claimed to be owed and the amounts
                       actually owed is ~$500,000. BSI Financial Services has tacitly admitted
                       they are not owed the amounts claimed to be due which are greater than the
                       $731,781.19 they most recently claimed to be correctly due in 2018, but BSI
                       refuses to reduce the principal for the overstated amounts pre-dating
                       transfer, for which Nationstar is accountable.

        In response to Borrowers’ claims that they are being charged for amounts that have already
been paid in the underlying Bankruptcy or which were overstated and inflated on transfer and then
for interest on these erroneous amounts due, Nationstar and BSI both claim, without basis, that
there were tens of thousands of dollars of arrears both during and after the Bankruptcy Proceedings.
As shown by the Court Record, this is demonstrably false and plainly not the case. Nationstar
Mortgage, LLC itself certified in Dckt. No.: 58-2 that there were no arrears on the account in
2016, a short time prior to the loan being transferred.

       This letter also is written to draw the Court’s attention to certain parallel litigation with
Nationstar that has previously been adjudicated in this State, finding Nationstar to have committed
the very same violations alleged in this Adversary Proceeding on a widespread basis throughout


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the Country and requiring Nationstar to adhere to stringent “servicing standards” and to correct
past errors that have harmed borrowers.

        While the violations complained of in the Borrowers’ Complaint are well documented in
the Court Record, neither Nationstar (a party to the adversary proceeding) nor BSI (their successor-
in-interest) has produced any documentation confirming or validating the amounts claimed to be
due before, during or after the underlying Bankruptcy Proceedings. Neither party explains how
all pre-petition and post-petition arrears were paid-in-full during the Bankruptcy, and Borrowers
have continued making payments throughout this Adversary Proceeding, and yet, despite this, the
unpaid principal balance has increased by hundreds of thousands of dollars.

        Nationstar provided the loan to BSI, claiming substantial arrears were still due, including
the $27,544.12 paid in the Bankruptcy Proceedings, together with an increased and erroneous
interest rate—so that BSI now claims that despite uninterrupted monthly payments, an additional
$300,000 balance has accrued on the loan, representing nearly 50% of the principal owed at the
conclusion of the Bankruptcy Proceedings.

        These discrepancies in the amount owed have never been corrected and have remained
front and center throughout the pendency of this case. It would stand to reason that if records that
validated the debt existed, Nationstar would produce them in order to put an end to this dispute.
Instead, Nationstar, in particular, has gone all-in on the pending Motion to Dismiss, which would
be the only procedure whereby it could avoid production of underlying records, solely within its
possession, which would disprove the amounts it claims to be owed, and on which BSI relied in
booking the loan’s unpaid principal balance. These records would prove Borrower’s entitlement
to substantial damages of several hundred thousand dollars, at minimum, which Borrower’s now
ostensibly owe to BSI as a result of Nationstar’s mishandling of the loan account.

      In addition, neither Nationstar nor BSI has offered any explanation as to why the
Borrowers’ accepted loan modification was not honored.1 While these matters can be fleshed out

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            The failure to produce records validating the debt claimed to be owed or to correct inaccuracies in the
Borrowers’ account flies in the face of the 2020 Consent Order, in which Nationstar agreed to adhere to stringent
“servicing standards” whereby it would: “ensure the accuracy of information it includes in foreclosure-related
filings; apply any borrower payments that exceed the amount due in accordance with the borrower’s
instructions; adopt more consumer-accessible procedures for handling billing disputes, such as a toll-free number
and email; and take prompt action to remediate inaccuracies in borrowers’ account information – including
correcting information provided to credit reporting agencies, and providing refunds or account credits where
appropriate.”      https://www.njoag.gov/ag-grewal-announces-new-jerseys-participation-in-86-3-million-consumer-
financial-protection-settlement-with-nationstar-mortgage/, last visited May 19, 2023. Far from taking its obligations
under the Consent Order seriously in the case of the Jacobs’s, Nationstar has instead stonewalled the Borrowers,
refused to provide any documentation validating the debt claimed to be owed, and has engaged in a fundamental fraud
wherein Nationstar knows their accounting of the loan in question and the failure to honor Borrowers’ loan
modification are indefensible, but seeks to avoid adjudication on the merits—for which they have no defense—by
attempting to defeat the lawsuit on procedural grounds, putting form before substance. Nationstar says “we sold the
loan, complain to BSI” and BSI says “we didn’t own the loan when these violations occurred, you owe us an extra
$300,000 despite paying over $6,000 every month before, during and after the Bankruptcy… if you have a problem
with it, complaint to Nationstar.” This “pass the buck” and fingers pointing opposite ways defense is the hallmark of
mortgage servicing fraud in today’s day and age. If a loan is fraudulent—don’t fix it—just sell it—and hope the
Borrowers lack the resources to fight back or deal with the procedural complexity foisted on someone already in dire
financial straits. While the $90,000,000 Settlement by Consent Order sounds like a lot of money, it really isn’t. Even


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further in discovery, it is important to note that the documentation identifying discrepancies in the
amounts claimed to be due have been a part of the Court Record throughout these proceedings and
have gone unchallenged and unrebutted—but, account records from Nationstar and BSI do not line
up with, validate or substantiate the amounts claimed to be owed—and for that, no explanation is
offered.

        This case does not occur in a vacuum. In 2020, Nationstar recently entered into a NINETY-
MILLION ($90,000,000) DOLLAR Settlement Agreement with the CFPB, the DOJ and 53
Attorneys General (comprising all of the U.S. States and territories) for the same unlawful
servicing practices at issue in this case, occurring during the same time period. A CFPB press
release, summarizes Nationstar’s violations of the law as follows:

        “Specifically, the Bureau alleges that between January 2012 and January 1, 2016, in
        numerous instances Nationstar failed to identify loans on its systems that had pending
        loss-mitigation applications or trial-modification plans, and as a result failed to honor
        borrowers’ loan modification agreements.”

Consumer Financial Protection Bureau and Multiple States Enter Into Settlement with Nationstar
Mortgage,        LLC        for    Unlawful        Servicing      Practices     (available      at
https://www.consumerfinance.gov/about-us/newsroom/consumer-financial-protection-bureau-
multiple-states-enter-settlement-nationstar-mortgage-llc-unlawful-servicing-practices/,       last
visited May 19, 2023). Nationstar took over Borrowers’ loan from Bank of America on July 1,
2013, squarely in the middle of the relevant time period in which Nationstar’s Unlawful Servicing
Practices and consumer violations were in full swing.

        Our then Attorney General, Grubir Grewal, also issued a Press Release concerning the
Consent Judgment, in which he identified that Nationstar had: “fail[ed] to properly oversee and
implement the transfer of mortgage loans… fail[ed] to appropriately identify loans with pending
loan modification applications when a loan was being transferred to Nationstar for servicing…
fail[ed] to timely and accurately apply payments made by certain borrowers… [charged borrowers]
monthly modified payment amounts… [that exceeded] the trial plan agreement.”
https://www.njoag.gov/ag-grewal-announces-new-jerseys-participation-in-86-3-million-
consumer-financial-protection-settlement-with-nationstar-mortgage/, last visited May 19, 2023.

         As Attorney General Grewal noted in the Press Release, 2,075 New Jersey homeowners
were identified who had been damaged by these practices of Nationstar, including the Borrowers
in this case. Id.

       It is clear from the Court Record that a substantial injustice and a fundamental fraud is
being perpetuated by Nationstar in this case. BSI’s claims are purely derivative of Nationstar


$90,000,000,000 would be a drop in the bucket. Of the 2,705 New Jersey homeowners who were identified as having
lost their homes to a foreclosure sale despite qualifying for and taking all necessary steps to properly modify their
mortgage loan—the guaranteed payout to each was only $840. Id. That is, Nationstar broke its contracts and evicted
families from their homes wrongfully, without excuse or justification, despite the fact they had modified mortgages
with a prior Servicer, exactly like they are trying to do to the Borrowers here, and then Nationstar entered into a
Consent Order under which they didn’t even pay the cost of a moving truck for each of these displaced families.


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Mortgage LLC’s rights. Here, as pled in the Amended Complaint, Nationstar added $37,635.57
to the underlying principal and fumbled the loan modification by adding amounts that exceeded
the trial plan agreement, failed to account for the $27,544.12 paid during the Bankruptcy
Proceedings when transferring the loan, and has provided no documentation of the additional
amounts that raised the balance owed from ~$674,939.99 owed in July of 2013 per
contemporaneous BAC Home Loans statements just prior to Nationstar acquiring the loan to
~$731,781.19 in 2018 when Nationstar resold the loan to BSI, despite hundreds of thousands of
dollars having been paid during the ensuing 5-years through the Trustee and then post-discharge.

       The Docket Entries annexed hereto show there was clearly no unpaid debt or arrears owed
when the Chapter 13 Plan was discharged. The scant records produced by Nationstar do not show
missed payments or arrearages that account for the discrepancies in the underlying principal
balance. Then, where did the additional $60,000+ claimed to be owed come from? Where did the
additional $300,000 owed on top of that by BSI come from?

        These errors are not insignificant or trifling. Adding tens of thousands of dollars to the
principal on a loan and simultaneously failing to reduce the principal on a loan to credit payments
actually made has a dramatic effect when interest payments are at 6.75% per annum. For every
$100,000 erroneously owed, an additional $6,750 of interest is accruing every year. These
amounts add up quickly, particularly in a case like this where the interest has been running at these
rates for over a decade.

        Given all of the foregoing, it is clear that a grave injustice has taken place that is severely
prejudicing the Borrowers and resulting in hundreds of thousands of dollars of damages to boot.
This matter requires full adjudication and a reopening of the underlying Bankruptcy Proceeding to
ensure proper credits are given for all amounts paid under the supervision of the Bankruptcy Court
and the Chapter 13 Standing Trustee and to correct the principal balance for the mortgage accounts
at issue, which have been inflated dramatically due to servicing errors by Nationstar.

       Thank you for your time and attention to this matter.

                                                       FAZZIO LAW OFFICES

                                                       /s/ John P. Fazzio
                                                       JOHN P. FAZZIO, ESQ.

cc: Harold Kofman, Esq.




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